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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------ X
                                                             :
DOMINICK VOLINO, et al.,                                     :
                                             Plaintiffs, :
                                                             :   21 Civ. 6243 (LGS)
                           -against-                         :
                                                             :
PROGRESSIVE CASUALTY INSURANCE                               :
COMPANY, et al.,                                             :
                                             Defendants. :
------------------------------------------------------------ X
                                                             :
MICHAEL VERARDO, et al.,                                     :
                                             Plaintiffs, :
                                                             :   22 Civ. 1714 (LGS)
                           -against-                         :
                                                             :         ORDER
PROGRESSIVE CASUALTY INSURANCE                               :
COMPANY, et al.,                                             :
                                             Defendants. :
------------------------------------------------------------ X

LORNA G. SCHOFIELD, District Judge:

        WHEREAS, in an Opinion and Order dated March 16, 2023, certification of two classes

and four subclasses of each was granted and class counsel was appointed. It is hereby

        ORDERED that, by April 7, 2023, the parties shall meet and confer about the content of

class notice and the plan for disseminating such notice and shall file a joint letter with their

proposal, including a proposed form of class notice for the Court’s approval.

Dated: March 17, 2023
       New York, New York
